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                                                                      December 2, 2019
         By ECF
         Hon. Leda Dunn Wettre, U.S.M.J.
         U.S. District Court for the District of New Jersey
         Martin Luther King Building & U.S. Courthouse
         50 Walnut Street
         Newark, New Jersey 07102

                  Re:     Federal Home Loan Mortgage Corp. v. Levine, et al. (Civil Action No. 19-cv-
                          17421-MCA-LDW); JLS Equities LLC v. River Funding LLC, et al. (Civil.
                          Action No. 19-cv-17615-MCA-LDW); U.S. Bank National Ass'n v. Englewood
                          Funding, LLC, et al. (Civil Action No. 19-cv-17865-MCA-LDW); Wells Fargo
                          Bank, National Association v. Levine, et al. (Civil Action No. 19-cv-17866-MCA-
                          LDW); Privcap Funding LLC v. Levine, et al. (Civil Action No. 19-cv-18122-
                          MCA-LDW); Wilmington Say. Fund Soc., FSB v. Levine, et al. (Civil Action No.
                          19-cv-18137-MCA-LDW)

         Dear Judge Wettre:

                 We represent proposed intervenors Ascend Re Partners, LLC, Ascend Re Partners II, LLC,
         and DSE Family Investments VII, LLC (collectively, “Ascend”) in the above-referenced actions.
         In accordance with the Court’s direction, we have conferred with the parties who oppose Ascend’s
         pending motions to intervene. Based on the meet and confer, Ascend is withdrawing its motions
         to intervene without prejudice to refile in accordance with F.R.C.P. 24(c).



                                                                      Respectfully submitted,

                                                                      /s/ Eric D. Herschmann

                                                                      Eric D. Herschmann



         cc:      All counsel (via ECF)
